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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
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11 |} ARON GUTIERREZ, Case No. CV 20-3233 JGB (PVC)
12 Petitioner,
JUDGMENT
13 V.
14 | NEIL MCDOWELL, Warden,
15 Respondent.
16
17 Pursuant to the Court’s Order Accepting Findings, Conclusions and
18 |] Recommendations of the United States Magistrate Judge,
19
20 IT IS HEREBY ADJUDGED that the above-captioned action is dismissed without
21 || prejudice.
22

23 || DATED: September 18, 2020
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